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UN|TED STATES DlSTRlCT COURT
WESTERN D|STR|CT OF TENNESSEE
MEN|PH|S D|V|S|ON
UN|TED STATES OF AN|ERICA

-v- 2:03CR20396-01 -B

 

NATHAN|EL TAYLOR
April R. Goode, FPD
Defense Attorney
200 Jef'ferson Avenue, #200
N|emphis, TN 38103

 

JUDGN|ENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on l\/lay 12, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section MLF£M_OH§BS_€ Offense Numbers
Q@£Ld£r_l
21 U.S.C. § 846 Conspiracy to Possess With intent to 04/18/2003 1

Distribute Contro||ed Substance

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fleform Act of 1984 and the |Vlandatory
Victims Flestitution Act of 1996.

Count 2 is dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence'.
Defendant’s Date of Birth: 8/23/1955 August 30, 2005
Deft’s U.S. |V|arshal No.: 12416-076

Detendant’s N|ai|ing Address:
800 Bruce Avenue
Dyersburg, TN 38024

 

 

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‘\;{§~g\@‘“ September , 2005 j

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lN|PR|SONNiENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 46 Nionths.

The Court recommends to the Bureau of Prisons:

- Piacement at Niiiiington, Tennessee.
- The 500 Hour Drug Program.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States iViarshai.

RETURN

l have executed this judgment as fo|ioWs:

 

 

 

 

 

 

 

 

Defendant delivered on to
at . With a certified copy of this
judgmentl
UN|TED STATES i\/|AFiSHAL
By:

 

Deputy U.S. iViarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment',
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered‘, The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notificaticns and to confirm the defendant's compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

f) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Cooperate with DNA collection as directed by the Prcbation Officer.

CRINIINAL IV|ONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fuli.before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3812(g).

Totai Assessment Totai Fine Totai Flestitution
$100.00
The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

           
   

UNITED `SETATS DSTIRIC COURT - WESTRNE DSRTCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 2:03-CR-20396 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

